 

Case 1:12-CV-OO758-.]AP-ACT Document 34 Filed 02/28/13 Page 1 of 2

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF NEW MEXICO

RIO REAL ESTATE INVESTMENT
OPPORTUNITIES, LLC, a NeW Mexico
limited liability company,

VS.

Plaintiff,

Case Number: l:lZ-ev~0075 8-JAP-ACT

TESLA MOTORS, INC., a Delaware

 

corporation,
Defendant.
NOTICE T() TAKE DEPOSITION OF
YANNICK ROUX
TO: Yannick RouX

c/o Andrew G. Schultz

Rodey, Dickason, Sloe.n, Akin & Robb, PA
P.O. Box 1888

Albuquerque, New Mexico 87103-1888

PLEASE 'I`AKE NOTICE that the attorneys for Plaintiff Rio Real Estate Investment

Opportunities, LLC, Will take the Deposition of Yannick Roux beginning at 9:00 a.m. on March

18, 2013 at the offices Of Tesla Motors, lnc., 3500 Deer Creek Road, Palo Alto, CA 94304

before a certified court reporter. The Deposition so taken may be used at trial pursuant to

Fed.R.Civ.Pro. 32.

LASTRAPES, SPANGLER & PACHECO, P.A.

Christopher M. Pacheco

LeeAml Werbelow

Att<)rneys for Plaintiff

P. O. BOX 15698

Rio Raneho, New Mexico 87174
Telephone: (505) 892-3607

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l hereby certify that a true and
correct copy of the foregoing Was
mailed by electronic mail and United
States 'l to counsel of record on
this M day of February, 2013.

Chri§§opher M. Pacheco

